        CASE 0:20-cv-00111-DSD-KMM Doc. 5 Filed 01/10/20 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Mary Kay F.,                                         Case No. 20-cv-111-KMM

                      Plaintiff,

v.                                                ORDER ON APPLICATION
                                                  TO PROCEED WITHOUT
Andrew Saul,                                       PREPAYMENT OF FEES
Commissioner of Social Security,

                      Defendant.


      Having considered Plaintiff’s Application to Proceed in District Court Without

Prepaying Fees or Costs (ECF No. 2), and in accordance with 28 U.S.C. § 1915, IT IS

HEREBY ORDERED that the Application is:

              GRANTED

              The Clerk is directed to file the Complaint.

              IT IS FURTHER ORDERED that the Clerk issue Summons and the
              United States Marshal serve a copy of the Complaint, Summons, and this
              Order on the Defendant in a manner consistent with Rule 4. All costs of
              Service shall be advanced by the United States.

              DENIED, for the following reasons:


Dated: January 10, 2020                         s/ Katherine Menendez________
                                                Katherine Menendez
                                                United States Magistrate Judge
